64 F.3d 672
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Librado L. ALVER, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 95-3198.
    United States Court of Appeals, Federal Circuit.
    July 10, 1995.
    
      Rehearing Denied;  Suggestion for Rehearing In Banc Declined
      Nov. 8, 1995.
      Before MAYER, Circuit Judge, COWEN, Senior Circuit Judge, and LOURIE, Circuit Judge.
      ON MOTION
      ORDER
      MAYER, Circuit Judge.
    
    
      1
      The Office of Personnel Management (OPM) moves for a summary affirmance of the Merit System Protection Board's decision holding that Librado L. Alver was not entitled to retirement benefits under the Civil Service Retirement Act (CSRA), 5 U.S.C. Sec. 8331 et seq.  We treat OPM's motion as a motion for leave to file an overlong motion.  Alver submits a document entitled "Informal Reply."
    
    
      2
      Alver was employed by the Department of the Navy in Subic Bay, Philippines from 1955 until 1991, when he reached mandatory retirement age.  In 1993, Alver applied for retirement benefits under the CSRA.  OPM denied Alver's application, and he appealed OPM's denial to the Board.  The Administrative Judge (AJ) determined that Alver had served under a series of intermittent or indefinite appointments in the excepted service, all of which were specifically excluded from CSRA coverage pursuant to 5 C.F.R. Sec. 831.201(a)(1), (a)(2), (a)(6) and (a)(13).  Alver petitioned the Board for review.  The Board reopened the case on its own motion and affirmed the AJ's decision as modified.  The Board held that the AJ's failure to address Alver's service from 1955 until 1956 was not error because the 1954 Act imposed a one-out-of-two requirement that Alver failed to meet.  Thus, the Board determined that while Alver had completed at least five years of creditable federal civilian employment, he had not been employed in a position covered by the CSRA for at least one of his last two years of service.  See 5 U.S.C. Sec. 8333(b); 5 U.S.C. Sec. 8347(g).  Alver petitioned this court for review.
    
    
      3
      This court recently considered the issues raised by Alver.  In Rosete v. Office of Personnel Management, 48 F.3d 514 (Fed.  Cir. 1995), Juanita Rosete argued that an "indefinite" appointment, such as hers, was not encompassed by the language of the statute that excluded only "temporary or intermittent" appointments.  We held that OPM's regulation interpreting "temporary" as including indefinite appointments was "both reasonable and of long standing."  Rosete, 48 F.3d at 519.  Accordingly, we concluded that a federal retiree who had held an indefinite appointment in the excepted service did not have covered service within the meaning of the CSRA.  Rosete, 48 F.3d at 520.
    
    
      4
      OPM argues that the Board's decision that Alver was not entitled to retirement benefits should be summarily affirmed based on our holding in Rosete.  We agree.  Summary disposition of a case "is appropriate, inter alia, when the position of one party is so clearly correct as a matter of law that no substantial question regarding the outcome of the appeal exists."  Joshua v. United States, 17 F.3d 378, 380 (Fed.  Cir. 1994).  In the present case, it is clear that Rosete is dispositive and that summary disposition is warranted.  Alver served either under Rosete-like indefinite appointments in the excepted service or under intermittent appointments that are specifically excluded from CSRA coverage by statute.  See 5 U.S.C. Sec. 8347(g).  Further, the Board found that there was no evidence that Alver made contributions to the civil service retirement fund or that he was otherwise subject to the CSRA.
    
    
      5
      In his reply, Alver argues that Rosete was wrongly decided.  However, we are bound by this court's holding in Rosete.
    
    
      6
      Accordingly,
    
    IT IS ORDERED THAT:
    
      7
      (1)  OPM's motion for summary affirmance is granted.
    
    
      8
      (2)  OPM's motion for leave to file an overlong motion is granted.
    
    
      9
      (3)  Each side shall bear its own costs.
    
    